                 Case 8:20-cv-02619-PWG Document 19 Filed 11/17/20 Page 1 of 2



                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
TRUSTEES OF THE BAKERY AND
CONFECTIONERY UNION AND INDUSTRY
INTERNATIONAL PENSION FUND                                         *
       Plaintiff,
                                                                   *
                                                                                                          20-cv-2619
       v.                                                                               Case No.
BROWN'S BUN BAKING CO. and                                         *
GEMDAA ENTERPRISES, LLC
       Defendant.                                                  *

                                   DISCLOSURE OF CORPORATE INTEREST


Check all that apply:
                                                               GEMDAA Enterprises, LLC
       I certify, as party/counsel in this case that
                                                                                                  (name of party)

is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103.3 (D. Md.).




       The following corporate affiliations exist with                                                                 :
                                                                                                     (name of party)



                                                                                                                       .
                                                      (names of affiliates)




    The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:

                                                                                                                       .
                                          (names of entities with possible financial interests)




DisclosureCorpInterest (03/2015)
           Case 8:20-cv-02619-PWG Document 19 Filed 11/17/20 Page 2 of 2
Disclosure of Corporate Interest




    In a case based on diversity jurisdiction, the following is a list of all members of

________________________________ and their states of citizenship:
           (name of LLC party)



___________________________________                    ____________________________________
           (name of member)                                                (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                                (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                                (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                                (state of citizenship)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper.




11/17/2020                                             /s/ Matthew I. Henzi
Date                                                   Signature
                                                       Matthew I. Henzi (814496)
                                                       Printed name and bar number
                                                       25800 Northwestern Hwy., Ste. 1100, Southfield, MI 48075

                                                       Address
                                                       mhenzi@asherkellylaw.com
                                                       Email address
                                                       248-746-2710
                                                       Telephone number
                                                       248-359-8301
                                                       Fax number




                                                  2
